Case 2:17-cV-1O721-.]T|\/|-.]VI\/| Docume!t 12 Filed lO/ZWNB§%EJDOH)R F"_'NG

fm 24 2017

UN|TED STATES D|STR|CT COURT

 

 

 

 

 

FOR THE EA$TERN D|STR|CT OF LOUIS|ANA U.S. D|STR|CT COURT
Eastem District of Louisiana
Deputy C|erk
Renata Sing|eton, Marc Mitchel|, Case No. 2:17-cv-10721-JTM-JVM
|ndividua|ly and on behalf of all others similarly situated,
Plaintiffs, Complaint-C|ass Action with
v. Jury Demand U q D§STP.,AT CG
y ,t,. wis §12?
Leon Cannizzaro, in his official EA$TERN Dle-RM 955 LGU§SlANA
capacity as District Attorney of Orleans
Parish and in his individual capacity; FE‘LED ij§] 2 /:ic 251
David Pipes, etc. viz
in their individual capacities'
’ Wll. , . ' “ ~
Defendants. LEAYLY§§§LEWNS

 

 

 

Motion for Leave to Fi|e/Docket this Letter/lnformative P|eading with Judge lane Triche Mi|azzo

My intentions in filing this pleading are honorable. l want you to make an informed decision in the
interest ofjustice.

This package contains evidence of criminal wrongdoing on the part of Orleans Parish District Attorney
Leon Cannizzaro and his staff. lt also contains documented and factual evidence of Or|eans Parish
District Attorney Leon Cannizzaro and his staff violating my Constitutiona| Rights. This document attacks
the credibility of Or|eans Parish District Attorney Leon Cannizzaro and his staff.

Leon Cannizzaro is a chame|eon. He is no different than Las Vegas mass murderer Stephen Paddock.
Cannizzaro does not know the difference between right and wrong. He has no understanding of the
Constitution. He is a Sunarcissist of epic proportion.

l hope this evidence helps the plaintiffs to prevai|.

Godspeed

 

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dchristenson€@_hotmai|.com .,»;€::GQW
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